
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on March 24, 1981, (396 So.2d 753) affirming in part and reversing in part the judgment of the Circuit Court of Dade County, Florida, in the above styled appeal, and
WHEREAS, on review of this court’s judgment; by certiorari, the Supreme Court of Florida, 414 So.2d 1037, by its opinion and judgment filed April 15, 1982 and mandate now lodged in this court affirmed the results of this court’s judgment, but, for the reasons expressed, the opinion is affirmed in part and disapproved in part.
NOW, THEREFORE, It is Ordered that the mandate of this court issued in this cause May 15, 1981 is withdrawn, the opinion and judgment of this court filed March 24, 1981 insofar as it is in conflict with or fails to conform to the views expressed in the said opinion and judgment of the Supreme Court of Florida aforesaid is withdrawn and vacated, and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court. The opinion and judgment of this court, except as withdrawn and vacated aforesaid, is adhered to. Costs allowed shall be taxed in the trial court (Rule 9.400 a, Florida Rules of Appellate Procedure).
